Case 5:17-Cr-00239-D Document 195-3 Filed 01/11/19 Page 1 of 1

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The writer met with UCE-6361 to discuss how the inert explosive
materials end an electronic fusing/firing system provided for this
investigation were designed to functien.

Subsequently, handwritten instructions detailing how to arm the device
and fire it by calling 304-531-4322 were provided to UCE-6361. The

following items were then placed into a vehicle under the control of UCE-
636l:

One green ammunition can containing ll lengths of inert detonating cord

One green ammunition can containing inert explosives described as four
(4) Austin Powder cast boosters, four (4} Austin Powder Hornet 100 cast
boosters, two (2) sticks of Atlas Gelmax dynamite

A match box containing two ¢3) inert Austin Powder electric detonators
One fusing/firing system with separate jack plug

Twenty (20) 50 pound bags of an inert ANFO simulant.

DEFENDANT’S
§ EXHIB|T

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w Barry T Black

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